 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 1 of 10




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                     GAINESVILLE DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
SHARON WRIGHT AUSTIN, MICHAEL                                        :
MCDONALD, AND DANIEL A. SMITH,                                       :
JEFFREY GOLDHAGEN, TERESA J. REID,                                   :
and KENNETH B. NUNN,                                                 : 1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           :
                                                                     :
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF                                       :
TRUSTEES, the public body corporate acting for :
and behalf of the University of Florida, W. KENT :
FUCHS, in his official capacity as President of the :
University of Florida, JOSEPH GLOVER, in his :
official capacity as Provost of the University of :
Florida, and LAURA ROSENBURY, in her                                 :
official capacity as Dean of the Fredric G. Levin :
College of Law,                                                      :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                DECLARATION OF KENNETH B. NUNN

I, Kenneth B. Nunn, hereby declare and state as follows:

       1.     I am a Professor of Law and the Associate Director of the

Center on Children and Families at University of Florida’s Fredric G. Levin

College of Law (the “Law School”).              I have been a member of the
 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 2 of 10




University of Florida’s (the “University”) faculty since 1990.      I have

personal knowledge of the matters set forth herein.

       2.    My areas of teaching and expertise include criminal law,

criminal procedure, African American history and the law, race and the

justice system, and law and cultural studies.

       3.    I previously served as a member of the Innocence Commission

of the State of Florida, which was charged with identifying causes of

wrongful convictions in the State and recommending changes in legislation,

court rules, and law enforcement practices to reduce the incidence of

wrongful convictions.      I have also authored numerous articles, given

scholarly presentations, and signed amicus briefs on issues related to my

fields of expertise.

       4.    Until recently, the Law School has encouraged its faculty,

myself included, to engage with the public on important issues through

writing, speeches, and participation in litigation.

       5.    For that reason, I have been surprised and deeply concerned by

the University’s Conflicts of Commitment and Conflicts of Interest Policy

(“the Policy”) and how the University and the Law School have interpreted

and applied it to restrict speech based on viewpoint.




                                        2
    Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 3 of 10




        6.    On January 31, 2020, Gary Wimsett, Jr., Assistant Vice

President for Conflicts of Interest, gave a presentation to the Law School

faculty on the Policy. Based on his explanation, I understood that, pursuant

to the Policy, faculty must file a request for permission on the University’s

online conflicts system (“UFOLIO”) each time we seek to participate in an

“Outside Activity.”

        7.    On February 10, 2020, Dean Rosenbury emailed the Law

School faculty to provide “some clarification” on the Policy’s scope. Ex. 1.1

In that email, she told us: “Writing or signing on to an amicus brief in your

capacity as an individual law professor” was not an “Outside Activity” that

required prior approval under the Policy because it was “[c]onsidered [p]art

of [y]our UF [a]ssignment.” (emphasis added.) Id. Only “[a]micus briefs

written for another individual or entity” were considered “Outside

Activities” under the Policy. (emphasis added.) Id.

        8.    Around the time the Policy went into effect, I was contacted by

an attorney drafting an amicus brief in support of the plaintiffs in Jones, et

al. v. DeSantis, et al., No. 20-12003 (11th Cir.). That case challenged

Florida Senate Bill 7066, which requires Florida citizens who have

completed their sentence for felony convictions to pay any financial

1
 “Ex. X” refers to the exhibits attached to the Declaration of Morgan A. Davis submitted
herewith.


                                           3
 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 4 of 10




obligations included in their sentence before they can exercise their right to

vote. I was asked if I would be interested in signing on to the amicus brief

opposing Florida Senate Bill 7066. The attorney also asked me if any of my

colleagues would be interested in signing onto the brief, and I offered to

reach out to them.

      9.    On July 1, 2020, I emailed over two dozen Law School

colleagues who had expertise in constitutional law, voting rights law, civil

rights law, or criminal procedure to ask whether they would be interested in

joining the amicus brief in Jones v. DeSantis. Ex. 3. I requested that they

respond to me by July 8, 2020. Id.

      10.   Approximately nine Law School professors agreed to sign on to

the amicus brief, in addition to the Law School’s Center for the Study of

Race and Race Relations.

      11.   In light of Dean Rosenbury’s February 10, 2020 guidance, I did

not think that I—or they—needed to seek the University’s permission

merely to sign the amicus brief in Jones v. DeSantis. Indeed, signing on to

the amicus brief seemed consistent with my job responsibilities at the Law

School, where the courses I teach involve implicating the rights of criminal

defendants and those convicted of felonies.




                                      4
 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 5 of 10




       12.    Further, I had previously signed numerous amicus briefs on

issues relevant to my areas of expertise with no opposition from the

University.

       13.    But on July 9, 2020, Dean Rosenbury emailed the Law School

faculty, stating:

              [F]aculty participation in litigation against the state
              of Florida or any agency thereof, including through
              amicus briefs, is considered a potential conflict of
              interest. If you seek to participate in such
              litigation or to write or sign on to an amicus brief
              in support of a party suing the state of Florida, you
              must fill out a disclosure form through UFOLIO
              and receive approval before participating. . . .

Ex. 4.
       14.    Dean Rosenbury added: “Entities of the College of Law, such

as centers, clinics, or other classes, seeking to participate in such litigation or

amicus briefs must separately receive approval from me, the General

Counsel, and President Fuchs.” Id.

       15.    I was confused by this sudden change, which was inconsistent

with Dean Rosenbury’s previous advice. On July 9, 2020, I emailed Dean

Rosenbury to ask her to clarify the Policy as it applied to signing the amicus

brief in Jones v. DeSantis. Id. Dean Rosenbury responded: “You are

correct that this is not an outside activity, but it is a potential conflict of




                                        5
 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 6 of 10




interest because the amicus brief will be filed in an action against the state.

You, and others, must therefore disclose on that basis.” Id.

      16.    On July 13, 2020, Dean Rosenbury wrote to me and other

members of the Law School faculty:

             I have confirmed that the university will approve
             this activity so long as you participate solely in
             your individual capacity. You may not participate
             in your capacity as an employee of the University
             of Florida or on behalf of the Levin College of
             Law or the University of Florida. Please ensure
             that the amicus brief clearly indicates that any law
             school or university affiliation is included for
             identification purposes only.

Ex. 25.

      17.    Consistent with Dean Rosenbury’s advice, I completed my

UFOLIO disclosure for participation in the litigation.         I included the

following language in my disclosure:

             [Signing on to the amicus brief] will not put me in
             a position adverse to the interests of the University
             of Florida. I simply wish to sign on to an amicus
             brief, as one of more than 100 professors at law, to
             express an opinion about the proper interpretation
             of the law in regards to not infringing on the voting
             rights of ex-felons as provided by citizen initiative
             in the State of Florida. I understand that I may not
             participate in my capacity as an employee of the
             University of Florida or on behalf of the Levin
             College of Law or the University of Florida. I will
             ensure that the amicus brief clearly indicates that
             any law school or university affiliation is included
             for identification purposes only.


                                       6
 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 7 of 10




Ex. 6.

         18.   My UFOLIO request to sign the amicus brief in Jones v.

DeSantis was approved on July 14, 2020. Ex. 7.

         19.   Most of the 10 professors who had expressed interest in signing

the amicus brief in Jones v. DeSantis ultimately did not do so. Only four

Law School professors, including me, were listed among the 93 signatories

to the amicus brief. Ex. 8. The Center for the Study of Race and Race

Relations was not listed among the signatories. Id.

         20.   In addition, my institutional affiliation was omitted from the

brief. I and the three other Law School professors who signed the brief were

the only signatories who did not have our institutional affiliations listed

alongside our signatures. Id.

         21.   Although I agreed to join the amicus brief in Jones v. DeSantis

in my personal capacity, the complete omission of my institutional affiliation

weakened the message I wanted to convey. I have gained prominence in my

field in part because of my 30-year tenure at the University and the extensive

scholarship and other activities I have engaged in as a Law School professor.

My professional association with the Law School—Florida’s top-ranked law

school—reflects my years of practice and scholarship.          Including my




                                       7
 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 8 of 10




institutional affiliation would have given greater weight and credibility to

my signature on the amicus brief.

        22.   The Law School’s actions with respect to the Policy have also

made me hesitant to sign on to amicus briefs in the future or otherwise

participate in litigation.

        23.   I am frequently asked to participate in lawsuits concerning my

areas of research and teaching. Many of these cases seek emergent relief,

including emergency motions in death penalty cases.             Because of the

policy’s vaguely worded terms—and the significant discretion it vests in the

University and Law School to define them—I am unable to determine

whether I am required to seek approval under the Policy for certain

engagements and, if so, whether the activity would even be approved.

Moreover, because the Policy provides no timeline for approval, I know that

by the time the University issues a determination on my application, the

opportunity to participate in the litigation may have passed.

        24.   For example, on November 3, 2021, I received an invitation to

join an amicus brief in support of Terrence Andrus’s request for

resentencing for a crime committed as a juvenile in Andrus v. Texas, No. 21-

6001.    Ex. 27.    Ordinarily, I would not hesitate to lend my name and

prominence as a criminal law scholar to an amicus brief on such an



                                      8
 Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 9 of 10




important issue.     Nevertheless, on November 7, 2021, I declined the

invitation. Id. I explained to my colleague that, “with all the turmoil going

on down here with university oversight of our amicus signons, I decided to

wait until there is more clarity” on the Policy’s scope. Id. The Policy was

the sole reason I decided not to sign the amicus brief in Andrus.

      25.    If I were to engage in an activity that the University deems a

“conflict” without prior approval, I fear that the University would punish

me, such as withholding institutional support or funding for my projects. It

is concerning to me that termination is among the potential repercussions of

not complying with the Policy.

      26.    Based on conversations that I have had with other professors,

many of my colleagues are also reticent to participate in litigation in light of

the Policy. Indeed, a number of my colleagues who had initially expressed

an interest in signing on to the amicus brief in Jones opted not to sign on

after the Dean’s July 9, 2020 email.

      27.    I fear that if this Policy were permitted to stay in place, it will

not only further stifle and chill the Law School’s faculty, but it will teach the

newest generation of lawyers—our students—that freedom of speech is a

right that can be limited if, and when, it is convenient for the State to do so.




                                        9
Case 1:21-cv-00184-MW-HTC Document 30-1 Filed 12/03/21 Page 10 of 10
